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Enclosure with EEOC
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Form 161 (11/16)                                                                               Page 3 of 37 PageID 7
                                             INFORMATION RELATED TO FILING SUIT
                                           UNDER THE lAWS ENFORCED BY THE EEOC

                               (This information relates to filing suit in Federal or State court under Federal law.
                      If you a/so plan to sue claiming violations of State law, please be aware that time limits and other
                             provisions of State law may be shorter or more limited than those described below.)


PRIVATE SUIT RIGHTS                    Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
                                       the Genetic Information Nondiscrimination Act (GINA), or the Age
                                       Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS                    Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 -not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION --                     Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                            --   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                  IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
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themselves in such a manner where they would sabotage, deceive, disrespect and mistreat
an individual on their job for no apparent reason.

I ask that you please arrange a time in which you and I can have a meeting of the minds to
further discuss this grievance. Lo ,king forward for your immediate positive reaction as
against my reaction on these 1tive issue at the earliest.
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                 Case 3:19-cv-01270-N-BK Document 3 Filed 05/28/19                                                              Page 7 of 37 PageID 11
Pursuant to Personnel Rules Sec. 34-38 (b) Purpose. The grievance and appeal procedures described in this section are
provided for giving an employee the opportunity to:
(1)                                                                             present a grievance concerning the employee's
      working conditions that the employee claims have been adversely affected by a violation, misinterpretation, or misapplication
      of a specific law, ordinance, resolution, policy, rule or regulations; or
(2)                                                                                                                    appeal a disciplinary action.


Employee signature:                                                                                                    Date-submitted:


IF DEPARTMENTAL PPEAL, submit this rm to the designated person in your departm
IF CITY MANAGER'S OFFICE APPEAL, submit this form to the HR Department, City Hai/6AN, c/o HR Director
Always provide a copy to your Departmental HR Generalist
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Pursuant to Personnel Rules Sec. 34-38 (b) Purpose. The grievance and appeal procedures described in this section are
provided for giving an employee the opportunity to:
(1)                                                                             present a grievance concerning the employee's
      working conditions that the employee claims have been adversely affected by a violation, misinterpretation, or misapplication
      of a specific law, ordinance, resolution, policy, rule or regulations; or
(2)                                                                                                              appeal a disciplinary action.


                                                                                                                 Datesubmitted:


IF DEPARTMENTAL PPEAL, submit this rm to the designated person in yourdepartm
IF CITY MANAGER'S OFFICE APPEAL, submit this form to the HR Department, City Hai/6AN, c/o HR Director
Always provide a copy to your Departmental HR Generalist

INTERNAL USE ONLY~.Thi!3 grievance appe~[*'·· 0 ~ IS OJ~ NQT,tim~IY2· . ·
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